         Case 1:16-cr-02006-EFS             ECF No. 436        filed 08/25/16       PageID.1156 Page 1 of 1
O PS 8
(3/15)
                                                                                                            FILED IN THE

                               UNITED STATES DISTRICT COURT                                             U.S. DISTRICT COURT
                                                                                                  EASTERN DISTRICT OF WASHINGTON



                                                              for                                  Aug 25, 2016
                                                                                                       SEAN F. MCAVOY, CLERK
                                             Eastern District of Washington

U.S.A. vs.                   PARKER, Jacob Chad                           Docket No.             1:16CR02006-EFS-10

                                  Petition for Action on Conditions of Pretrial Release

COMES NOW Linda J. Leavitt, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of
defendant Jacob Chad Parker, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge
Mary K. Dimke in the Court at Yakima, Washington, on the 23rd day of March 2016, under the following conditions:

Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled substances
defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner. Defendant may not possess or use
marijuana, regardless of whether Defendant has been prescribed a medical marijuana card.

Condition #11: Defendant shall undergo a substance abuse evaluation as directed by a U.S. Probation Officer and follow
all recommendations.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

The defendant is alleged to be in violation of his conditions of pretrial supervision in the Eastern District of Washington by:

Violation #1: Using controlled substance, methamphetamine between July 23 and 28, 2016.
Violation #2: Using controlled substance, methamphetamine between August 21 and 22, 2016.
Violation #3: Failing to follow all chemical dependency treatment recommendations since August 8, 2016.

                                   REQUESTING THE ISSUANCE OF A WARRANT
                                                                            I declare under the penalty of perjury that the
                                                                            foregoing is true and correct.
                                                                            Executed on:       August 24, 2016
                                                                    by      s/Linda Leavitt
                                                                            Linda J. Leavitt
                                                                            U.S. Pretrial Services Officer


THE COURT ORDERS
[ ]  No Action
[ X] The Issuance of a Warrant
[ ]  The Issuance of a Summons
[ ]  Defendant to appear before the Judge assigned to the case.
[ ]  Defendant to appear before the Magistrate Judge.
[ ]  Other
                                                                              Signature of Judicial Officer
                                                                               8/25/2016

                                                                              Date
